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                                                                                      FILED: 7/27/09
                              United States District Court                        U.S. DISTRICT COURT
                                     EASTERN DISTRICT OF TEXAS
                                         SHERM AN DIVISION
                                                                                EASTERN DISTRICT COURT
                                                                                DAVID J. MALAND, CLERK
 UNITED STATES OF AMERICA                           §
                                                    §
  vs.                                               §           Case No. 4:01cr44
                                                    §           (Judge Schell)
 RANDELL DALE THOMPSON (5)                          §

                              REPORT AND RECOMMENDATION
                           OF UNITED STATES MAGISTRATE JUDGE

            Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on July 24, 2009, to determine whether Defendant violated his supervised

 release. Defendant was represented by Steven Miears. The Government was represented by

 Maureen Smith.

            On March 1, 2002, Defendant was sentenced by the Honorable Paul Brown to ninety-six (96)

 months’ custody followed by five (5) years of supervised release for the offense of Conspiracy to

 Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or Dispense

 Methamphetamine. On June 27, 2008, Defendant completed his period of imprisonment and began

 service of his supervised term.

            On March 13, 2009, the U.S. Pretrial Services Officer signed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated the following mandatory

 conditions: (1) the defendant shall not commit another federal, state, or local crime; (2) the defendant

 shall not possess a firearm, destructive device, or any other dangerous weapon, as defined in 18

 U.S.C. § 3563(b)(8). The petition also alleged a violation of the following standard conditions: (1)

 the defendant shall not leave the judicial district without the permission of the Court or probation

 officer.
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        The petition alleges that Defendant committed the following acts with regard to the

 mandatory condition: (1) On March 13, 2009, the defendant was arrested for allegedly committing

 the offense of aggravated assault with a deadly weapon. The defendant allegedly struck his girlfriend

 numerous times with a golf club until it broke on her shoulder. The petition also alleges that

 Defendant committed the following acts with regard to the standard conditions: (1) the U.S.

 Probation office received information from the Midwest City, OK, Police Department that the

 defendant was a victim of assault on December 25, 2008. The defendant did not have permission

 to leave the Eastern District of Texas.

        Prior to the Government putting on its case, Defendant entered a plea of true to all of the

 violations. The Court recommends that Defendant’s supervised release be modified.

                                      RECOMMENDATION

        The Court recommends that the District Judge modify Defendant’s supervised release.

 Defendant’s supervised release should be modified as follows: (1) The Defendant shall be placed

 on home detention for a period not to exceed 120 days, to commence immediately. During this time,

 the Defendant shall remain at his place of residence except for employment and other activities

 approved in advance by the U.S. Probation Officer; (2) the Defendant shall maintain a telephone at

 his place of residence without “call forwarding,” “a modem,” “Caller I.D.,” “call waiting,” or

 portable cordless telephones for the above period; (3) At the direction of the probation officer, the

 Defendant shall wear an electronic monitoring device and follow electronic monitoring procedures

 specified by the probation officer. The Defendant shall pay the cost associated with his program of

 electronic monitoring; (4) The Defendant shall abstain from the use of alcohol and/or all other

 intoxicants; and (5) the Defendant shall not reside or have contact with Lisa Fahey.

        After the Court announced the recommended sentence, Defendant executed the consent to
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     revocation of supervised release and waiver of right to be present and speak at sentencing. The

     parties also waived the ten (10) day period for objections.

           SIGNED this 27th day of July, 2009.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
